        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 1 of 9




Monica G. Cockerille (ISB No. 5532)                      Colleen R. Smith (ISB No. 10023)
monica@cockerillelaw.com                                 crsmith@hawleytroxell.com
Cockerille Law Office, PLLC                              Hawley Troxell
100 W. Main St., Ste. 204                                877 Main Street - Suite 1000
Boise, ID 83702                                          Boise, ID 83701 | Tel: (208) 388-4873
Tel: (208) 343-7676 | Fax: (866) 226-2499
                                                         D. Jean Veta (Admitted Pro Hac Vice)
Peter C. Renn (Admitted Pro Hac Vice)                    jveta@cov.com
prenn@lambdalegal.org                                    Henry Liu (Admitted Pro Hac Vice)
Nora Huppert (Admitted Pro Hac Vice)                     hliu@cov.com
nhuppert@lambdalegal.org                                 William Isasi (Admitted Pro Hac Vice)
Lambda Legal Defense and Education Fund, Inc.            wisasi@cov.com
4221 Wilshire Blvd., Suite 280                           Covington & Burling LLP
Los Angeles, CA 90010                                    One CityCenter
Tel: (213) 382-7600 | Fax: (213) 351-6050                850 10th St NW
                                                         Washington, DC 20001
Kara N. Ingelhart (Admitted Pro Hac Vice)                Tel: (202) 662-5294
kingelhart@lambdalegal.org
Lambda Legal Defense and Education Fund, Inc.            Michael Lanosa (Admitted Pro Hac Vice)
65 E. Wacker Pl., Suite 2000                             mlanosa@cov.com
Chicago, IL 60601                                        Covington & Burling LLP
Tel: (312) 663-4413 | Fax: (312) 663-4307                1999 Avenue of the Stars
                                                         Los Angeles, CA 90067
Attorneys for Plaintiffs F.V. and Dani Martin            Tel: (424) 332-4780


                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 F.V. and DANI MARTIN,                                       No. 1:17-cv-00170-CWD

                        Plaintiffs,                          DECLARATION OF DAN STORMER
                                                             IN SUPPORT OF PLAINTIFFS’
                v.                                           MOTION FOR ATTORNEYS’ FEES

 DAVID JEPPESEN, in his official capacity as
 Director of the Idaho Department of Health and
 Welfare; ELKE SHAW-TULLOCH, in her official
 capacity as Administrator of the Division of Public
 Health for the Idaho Department of Health and
 Welfare; and JAMES AYDELOTTE, in his
 official capacity as State Registrar and Chief of the
 Bureau of Vital Records and Health Statistics,

                        Defendants.
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 2 of 9




                            DECLARATION OF DAN STORMER

       I, Dan Stormer, declare as follows:

       1.      I am an attorney licensed to practice law in California. I make this declaration in

support of Plaintiffs’ motion for attorneys’ fees. It is based on my own personal knowledge, and

if called as a witness, I could and would testify to the following matters.

                                           Qualifications

       2.      I am a founding partner of the law firm of Hadsell Stormer Renick & Dai LLP,

which is based in Southern California and practices primarily in the area of employment

discrimination, constitutional, civil rights, international human rights, and public interest law. I

have been in the practice of law for over four decades and a member of the State Bar of

California since 1981, an inactive member of the State Bar of Colorado (1974), and a former

member of the State Bar of Washington (1977).

       3.      I am “AV Preeminent” rated by Martindale-Hubbell. For many decades, I have

been listed as a “leading” or “top” attorney on the national, state, and local level in many surveys

of my peers and in publications, including: Lawdragon Magazine’s “500 Leading Lawyers,”

“500 Leading Litigators,” “500 Leading Plaintiff Employment Lawyers” and “500 Leading

Plaintiff Consumer Lawyers” in America, “The Best Lawyers In America” (since 1994), one of

the “Top 100 Trial Lawyers” (National Trial Lawyers), one of the “Top 100 Most Influential

Lawyers in California” (California Law Business), one of the Top 75 Labor and Employment

Lawyers, and as one of the top five (and on other occasions, ten) plaintiff employment lawyers in

California (Chambers USA–America’s Leading Business Lawyers). Los Angeles Magazine and

Law & Politics Magazine has selected me as a “Super Lawyer” and among the Top 100 Lawyers

for more than ten years. I have also been selected repeatedly as one of the Top 10 Attorneys in

Southern California in the same survey. The Governors of The College of Labor and
                                                  1
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 3 of 9




Employment Lawyers inducted me as a Fellow of the College.

       4.      I have been acknowledged both nationally and internationally as one of the

leading civil rights, employment, plaintiff-side labor and constitutional law attorneys, as

recognized in “The Best Lawyers in America,” “Euromoney Publications,” “Guide to the

Worlds’ Leading Labour and Employment Lawyers” (since 1999), “America’s Registry of

Outstanding Professionals,” as well as the National and International “Who’s Who of

Professionals.”

       5.      During the past 47 years, I have taught at over 250 legal programs and seminars

as well as having been a keynote and graduation speaker. I have been a law school

commencement address speaker, including at The Thomas Jefferson School of Law. I have

taught at Hastings College of Law (Trial Advocacy, Pre-Trial Criminal Procedure), Loyola

College of Law (Prisoners’ Rights), San Fernando Valley College of Law (Trial Advocacy), and

at Southwestern University College of Law (Political Trials). I have also taught trial advocacy

for the National Institute of Trial Advocacy, Hastings College of Trial Advocacy, and California

Institute of Trial advocacy. I have lectured extensively on civil rights and harassment to

students, CEB organizations, and community groups.

       6.      I have received a number of awards, including: The California Lawyer Attorney

of the Year (CLAY) Award in 2006 and 2017, The Freedom Now Award from the Los Angeles

Community Action Network in 2016, the Religious Liberty Award by the ACLU in 2012,

Certificate of Special Congressional Recognition (by Congressman Howard L. Berman, in 2012),

LGBT Award (the ACLU Foundation of Southern California, in 2007), The Honorable Robert

W. Kenny Award (the Los Angeles Chapter of the National Lawyers Guild, in 2005), Los

Angeles Regional Social Justice Award (Occidental College - Urban & Environmental Policy



                                                 2
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 4 of 9




Institute, in 2006), Certificate of Recognition for Human Rights Legal Representation (California

State Assembly), Joseph Posner Award (California Employment Lawyer’s Association, in 2005),

Certificate of Recognition for Fighting Discrimination (California State Assembly Resolution),

Commendation by the Los Angeles Office of the City Attorney (for outstanding contribution to

the citizens of Los Angeles, in 1995), the California Lieutenant Governor’s Commendation (for

longstanding commitment to ensure equal justice and for service to the community, in 1995), the

Pursuit of Justice Award (California Women’s Law Center, in 1995), California Assembly

Resolution (honoring me for my commitment to civil rights, constitutional law and public

interest law, in 1995), the Clarence Darrow Award (People’s College of Law, in 1991), the

Hollywood Fair Housing Council Award (1989), Pro Bono Firm of the Year (Public Counsel

Law Center, in 1987), and the Pro Bono Service Award (Legal Aid Foundation of Los Angeles,

in 1986).

       7.      I have co-counseled with many highly regarded organizations, including Lambda

Legal Defense and Education Fund, the American Civil Liberties Union, the Center for

Constitutional Rights, the NAACP Legal Defense Fund, the Mexican-American Legal Defense

Fund, various legal aid societies, Public Counsel, and the Western Center on Law and Poverty.

These co-counseling arrangements have been required because most of the legal work in which I

have been involved impacts on diverse interest groups, involves novel and complex issues of law

and fact, and can demand huge resources to conduct the type of litigation required.

       8.      I have represented a wide range of clients in the civil rights area. I would

estimate that I have been co-counsel on at least 40 civil rights class actions. These class actions

have involved a wide range of public interest issues including, but not limited to ERISA, 42

U.S.C. § 1983, Title VII of the Civil Rights Act of 1964, Unfair Business and Practices under



                                                 3
          Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 5 of 9




California Business & Professions Code § 17200, Immigrants’ Rights, Employment Law,

Consumer Rights, Welfare Rights and Voting Rights.

          9.    I have tried many cases to juries. On a number of occasions, I have achieved

verdicts of a million dollars or more. Examples are Martin v. Texaco ($20 million), Denise

Steffens v. Regus ($4.6 million); Schell v. Parks ($4.31 million), Zinzun v. City of Los Angeles

($3.84 million), Pajas v. County of Monterey ($1.6 million), Ruiz v. Jackson ($1.6 million),

Wysinger v. The Automobile Club of Southern California ($1.3 million), and Bonsangue v. ADP

(slightly over $1 million). I have been co-counsel or lead counsel in scores of cases which have

settled for seven or eight figures (no decimals included).

          10.   Many of my cases have resulted in published decisions by the United States

Supreme Court, Federal Courts of Appeal, District Courts, and state courts, including the

California, Washington, and Colorado Supreme Courts and the California Courts of Appeal.

                                 Reasonableness of Rates Sought

          11.   I am personally familiar with the work of Lambda Legal as an organization, and I

have previously co-counseled with Lambda Legal on litigation in Southern California. Lambda

Legal has an excellent national reputation for its impact litigation on behalf of lesbian, gay,

bisexual, and transgender people (LGBT), including based on landmark victories it has achieved

in cases like Lawrence v. Texas, 539 U.S. 558 (2003), and Obergefell v. Hodges, 576 U.S. 644

(2020).

          12.   The impact litigation that Lambda Legal undertakes is high stakes, not only

because of the potential resource commitment required, but because a loss can have significant

negative consequences for the LGBT community as a whole. Prevailing in this area of work can

often require specialized institutional knowledge, experience, and expertise specific to LGBT



                                                  4
          Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 6 of 9




issues.

          13.   Mounting successful federal challenges to the lawfulness of state laws in

particular can present significant legal complexity and difficulty. Litigation against the

government also tends to be hard-fought, consume significant attorney time, and entail

significant financial risk with no assurance of compensation.

          14.   I have reviewed the rates requested for Lambda Legal attorneys Peter Renn and

Nora Huppert and paralegal Jamie Farnsworth. I understand that Plaintiffs are seeking fees for

legal work to clarify and enforce the court rulings that they previously obtained in 2018, which

allowed transgender people to access birth certificates matching their gender identity, after the

State of Idaho enacted legislation in 2020 implicating those rulings. I understand that Mr. Renn,

who graduated from Harvard Law School in 2006 and has specialized exclusively in litigation

advancing LGBT rights since 2010, has sought rates of $650 and $675 for work performed in

2020 and 2021, respectively. I also understand that Ms. Huppert, who graduated from Columbia

Law School in 2019 and has specialized exclusively in litigation advancing LGBT rights since

that time, has sought rates of $325 and $350 for work performed in 2020 and 2021, respectively.

Finally, I understand that Ms. Farnsworth, as a paralegal with 14 years of legal experience, has

sought a rate of $175 per hour for work performed during the same period.

          15.   In my opinion, based on my knowledge and experience regarding prevailing

market rates and fee awards, the rates requested by Mr. Renn, Ms. Huppert, and Ms. Farnsworth

are well within the range of reasonable rates in the Los Angeles legal market for professionals of

comparable experience, expertise, and skill for comparable work in the community.

          16.   Among other bases, my opinion is supported by the hourly rates charged by my

firm for non-contingency cases. In other words, these are the rates that apply where we expect



                                                 5
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 7 of 9




full payment by clients promptly upon rendition of billing, without any contingency. The 2021

rates for a sampling of the attorneys in my firm, along with their of graduation from law school,

include the following: Dan Stormer (1974), $1,200; Barbara Enloe Hadsell (1978), $1,075;

Cornelia Dai (1999), $800; Nancy Hanna (2011), $550; Brian Olney (2013), $500; Tanya

Sukhija-Cohen (2013), $500; Shaleen Shanbhag (2014), $475; and Hanna Chandoo (2015),

$450. The rates for our paralegals range from $175 to $300 per hour. These rates for our

attorneys and paralegals are within the range of those of comparable experience, expertise, and

skill in the community.

       17.     We expect a premium on our contingency fee cases, however, because of the

significant economic risks associated with such work. Those risks are considerable: in

contingency cases, we face the prospect of investing hundreds of thousands of dollars of time

and money over several years with no guarantee that we will ever be paid. Thus, where payment

is contingent upon outcome or any other factor, the fee arrangement is generally adjusted upward

to compensate the attorneys for risk and delay in payment.

       18.     Based on rates charged by attorneys at my firm for cases not involving

contingency fees, the rates sought for Mr. Renn and Ms. Huppert are within the range of

reasonable rates in Los Angeles, particularly as rates for contingency cases. For instance, my

colleague Ms. Dai’s rate for non-contingent work is $800 per hour as a 1999 graduate, and my

colleague Ms. Hanna’s rate for non-contingent work is $550 per hour as a 2011 graduate. Mr.

Renn’s rates of $650 for 2020 and $675 for 2021 for fee-contingent work as a 2006 graduate

properly takes into account rate differences for years of experience. Similarly, my colleague Ms.

Chandoo’s rate for non-contingent work is $450 as a 2015 graduate. Rate differences of

approximately $25 for each additional year of experience, particularly during the first several



                                                 6
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 8 of 9




years of practice, are typical within the community. Ms. Huppert’s rate of $325 for 2020 and

$350 for 2021 for fee-contingent work as a 2019 graduate is thus within the range of reasonable

rates in the community for comparable work.

       19.     My opinions regarding the reasonableness of the rates sought by Mr. Renn and

Ms. Huppert are also supported by the rates awarded by courts to comparable attorneys, which

can be even higher than the rates sought here, as set forth below.

       20.     In McKibben v. McMahon, No. 14-2171 JGB (SPx), Dkt. 103 (C.D. Cal. Feb. 28,

2019), the court found, as relevant here, the following range of rates in 2019 for civil rights work

in the forum: “attorneys practicing civil rights litigation with 9-15 years of experience bill

adjusted lodestar rates of $606-$855 per hour; and attorneys practicing civil rights litigation with

1-6 years of experience billed adjusted lodestar rates of $336-$671 per hour.” Id. at 19. The

rates sought for Mr. Renn and Ms. Huppert fall well within, if not below, this range of 2019

rates. Id. at 19 (finding that $715/hour for an ACLU of Southern California attorney with 15

years of experience was reasonable). Notably, this range of 2019 rates also does not account for

higher market rates for 2021, given inflation. See U.S. v. $28,000,000 in U.S. Currency, 802

F.3d 1100, 1107 (9th Cir. 2015) (“‘market rates in effect more than two years before the work

was performed’” do not reflect current market rates) (emphasis in original; citation omitted).

       21.     Similarly, in Gomez-Sanchez v. Barr, No. 14-72506, Dkt. 88 (9th Cir. Jul. 17,

2019), the Ninth Circuit awarded Bardis Vakili, an attorney with the ACLU of Southern

California who graduated in 2006, a rate of $620/hour for work performed in 2018 (as an

attorney with 12 years of experience at the time). The Ninth Circuit also observed that the

evidence showed the rates sought were “at or near the low end of the spectrum” in the

community. Id. at 12. The rate awarded there is consistent with, if not effectively higher than,



                                                 7
        Case 1:17-cv-00170-CWD Document 83-6 Filed 09/29/21 Page 9 of 9




the rates sought for Mr. Renn for work performed in 2020-21 as an attorney with 14-15 years of

experience.

       22.     Likewise, in Castillo v. Nielsen, No. 5:18-cv-01317-ODW (KESx), 2020 WL

2840065 (C.D. Cal. Jun. 1, 2020), the court awarded Michael Kaufman, an attorney with the

ACLU of Southern California who graduated in 2007, rates of $620 to $645 per hour for work

performed in 2018-19 (as an attorney with 11-12 years of experience at the time). Those rates

are consistent with, if not effectively higher than, the rates sought for Mr. Renn for work

performed in 2020-21 as an attorney with 14-15 years of experience who graduated in 2006.

       23.     Paralegal rates of $175 per hour are also within the range of reasonable rates

awarded in the forum, particularly for a paralegal with 14 years of experience like Ms.

Farnsworth. For example, in Perfect 10, Inc. v. Giganews, Inc., No. CV 11-07098-AB (SHx),

2015 WL 1746484, at *21 (C.D. Cal. Mar. 23, 2015), the court found in 2015 that $240 per hour

for a paralegal with 5 years of experience was reasonable and consistent with market rates.

       24.     In sum, based on the information above, as well as my knowledge, background,

and experience, I believe that the requested hourly attorney and paralegal rates for Lambda

Legal are reasonable and fall within the prevailing market rates for similar attorneys and

paralegals performing comparable work in Southern California.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


DATED: August 31, 2021
                                              Dan Stormer




                                                 8
